         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-1763
                 LT Case No. 2015-CF-002087-A
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N’JAI OBANTU,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Lake County.
G. Richard Singeltary, Judge.

Matthew J. Metz, Public Defender, and Zachary Wiseman,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Alyssa M.
Williams, Assistant Attorney General, Daytona Beach, for
Appellee.

                            August 20, 2024

PER CURIAM.

    AFFIRMED.

EISNAUGLE, BOATWRIGHT, and KILBANE, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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